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                                                                   United States District Court
                                                                     Southern District of Texas

                                                                        ENTERED
                    IN THE UNITED STATES DISTRICT COURT             November 18, 2019
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION                       David J. Bradley, Clerk




KAYLA GILES COUTEE,                   §
                                      §
                    Plaintiff,        §
                                      §
v.                                    §        CIVIL ACTION NO. H-19-2312
                                      §
                                      §
ROBERT WILKIE, SECRETARY OF           §
VETERANS AFFAIRS,                     §
                                      §
                    Defendant.        §



                        MEMORANDUM OPINION AND ORDER


      Plaintiff Kayla Giles Coutee ("Plaintiff") appeals an Equal

Employment Opportunity Commission ("EEOC") final agency decision

that awarded her $23,000 for disability discrimination against

defendant     Robert     Wilkie,    Secretary      of   Veterans       Affairs

("Defendant") . 1    Pending before the court is Defendant's Motion to

Dismiss for Lack of Subject Matter Jurisdiction               (Docket Entry

No. 9)    ("Motion to Dismiss") .     For the reasons explained below,

Defendant's Motion to Dismiss will be granted.


                I.     Factual and Procedural Background

      In September of 2017 Plaintiff filed a complaint with the EEOC

alleging that her then-employer, the Waco Regional Benefit Office

within the Veterans Benefits Administration, discriminated against


      See Complaint for a Civil Case ("Complaint") , Docket Entry
      1

No. 1, pp. 1, 3-4.   All page numbers for docket entries in the
record refer to the pagination inserted at the top of the page by
the court's electronic filing system, CM/ECF.
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her    based       on   a   disability. 2          The    EEOC    investigated   and   on

October       30,       2018,     issued     a     decision       that   Defendant     had

discriminated against Plaintiff. 3                      On March 19, 2019, the EEOC

issued        a    damages        decision       awarding       Plaintiff   $23,000    in

compensatory damages. 4

       Plaintiff, proceeding pro se, filed her Complaint in this

action on June 17, 2019, within the 90-day filing deadline to

appeal the EEOC decision. 5            Her Complaint asks the court to review

the compensatory damages and other relief the EEOC decision granted

her    and        claims    she     should       have    been    awarded    $300,000   in

compensatory damages. 6 Defendant filed his Motion to Dismiss under

Rule 12(b) (1)          on October 21, 2019. 7            Defendant argues that the

court lacks subject matter jurisdiction because Plaintiff only asks

the court to review the EEOC's damages determination, and district

courts may not engage in               partial de novo review of final agency



      Final Agency Decision on Compensatory Damages, Exhibit 3 to
       2

Complaint, Docket Entry No. 1-3, pp. 1-2.

      Complaint, Docket Entry No. 1, p. 4 � III; Final Agency
       3

Decision on Compensatory Damages, Exhibit 3 to Complaint, Docket
Entry No. 1-3, pp. 1-2.

      Complaint, Docket Entry No. 1, p. 4 � III; Final Agency
       4

Decision on Compensatory Damages, Exhibit 3 to Complaint, Docket
Entry No. 1-3, pp. 1, 15, 17.
       5
           Complaint, Docket Entry No 1, p. 1.
       6
           Id. at 4 � IV.
       7
           Motion to Dismiss, Docket Entry No. 9.
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decisions.8        Plaintiff has not filed a response; the response was
due November 12, 2019. Fed. R. Civ. P. 6(a)(1), 27(a)(3)(A); Local
Rules 7.3, 7.4.


                 II.   Nature of Motion and Standard of Review

A.    Subject Matter Jurisdiction

      Defendant frames his motion as a 12(b)(1) motion to dismiss
for lack of subject matter jurisdiction.             Plaintiff's Complaint
states that the court has federal question jurisdiction under 28
U.S.C. § 1331.9        Federal question jurisdiction exists when federal
law creates the cause of action. Borden v. Allstate Insurance Co.,
589 F.3d 168, 172 (5th Cir. 2009)           The basis pled in the Complaint
is "Appeal of Final Agency Decision on Compensatory Damages. 1110

Because Plaintiff proceeds pro se, the court must construe her
Complaint liberally.          Erickson v. Pardus, 127 S. Ct. 2197, 2200
(2007).          The substance of Plaintiff's action is a disability
discrimination claim under the Rehabilitation Act of 1973 and
Title VII of the Civil Rights Act.

      The Rehabilitation Act creates a cause of action for federal
employees against whom the government discriminates on the basis of
disability. 29 U.S.C. § 791; Pinkerton v. Spellings, 529 F.3d 513,


      8
          Id. at 4-5.
      9
          Complaint, Docket Entry No. 1, p. 3      1 II.
      10
           Id.   1 II.A.
                                      -3-
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515 (5th Cir. 2008).          The same "remedies, procedures, and rights"
set    forth     in   Title   VII   of   the   Civil   Rights   Act    for   other
employment-discrimination            claims      applies      to      disability-
discrimination claims under the Rehabilitation Act.                    29 u.s.c.
§   794a.     A federal employee must exhaust available administrative

remedies, usually with the EEOC, before bringing an employment­
discrimination suit in federal court.            Hampton v. I.R.S., 913 F.2d
180, 182 (5th Cir. 1990)            An employee who has received a final
agency determination on the claim may file a civil action in
federal court appealing their claim.              42 u.s.c.     §   2000e-169(c).
Plaintiff's claim and right to present her appeal were created by
these federal statutes and accordingly there is federal subject

matter jurisdiction over this action.            See Borden, 589 F.3d 168 at

172.
        Defendant cites several cases that establish that an appeal of
a final agency decision in federal court cannot be a partial
de nova review of only the damages awarded; if an employee seeks
de nova review, liability and remedies must both be re-tried.11
�. Massingill v.              Nicholson, 496 F.3d 382, 384-85 (5th Cir.
2007).        But courts have not treated an impermissible request for
partial de nova review as a jurisdictional defect. See id. at 384,
386 ( reversing the district court's grant of summary judgment
without mentioning jurisdiction); Timmons v. White, 314 F.3d 1229,


       11   Motion to Dismiss, Docket Entry No. 9, pp. 4-5.
                                         -4-
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1237-38 (10th Cir. 2003) (affirming the district court's grant of

summary   judgment    without    mentioning    jurisdiction) ;    Herron     v.

Veneman, 305 F. Supp. 2d 64, 75-76, 79 (D.D.C. 2004) (dismissing a

claim for partial review of a final agency decision for failure to

state a claim, not lack of jurisdiction).            Because the defect in

Plaintiff's       Complaint     identified     by    Defendant        is    not

jurisdictional,     the court will construe Defendant's Motion to

Dismiss as a 12(b)(6) motion to dismiss for failure to state a

claim.    See Aldridge v. United States, Civil No. 7:06-CV-0050-R,

2006 WL 2423417, at *1 n.2 (N.D. Tex. 2006) (construing a 12(b) (1)

motion to dismiss as a 12(b)(6) motion because the latter was a

more appropriate vehicle for the defendant's argument).


B.    Rule 12(b) (6) Standard of Review

      The Federal Rules of Civil Procedure permit dismissal when a

plaintiff fails to state a claim upon which relief can be granted.

Fed. R. Civ. P. 12(b)(6).       A Rule 12(b)(6) motion tests the formal

sufficiency of the pleadings and is "appropriate when a defendant

attacks   the    complaint    because   it   fails   to   state   a    legally

cognizable claim."      Ramming v. United States, 281 F.3d 158, 161

(5th Cir. 2001), cert. denied sub nom. Cloud v. United States, 122

S. Ct. 2665 (2002).     To defeat a motion to dismiss a plaintiff must

plead "enough facts to state a claim to relief that is plausible on

its face."      Bell Atlantic Corp. v. Twombly, 127 S. Ct. 1955, 1974

(2007).    "Detailed factual allegations" are not required at this

stage, but a complaint that establishes the grounds that entitle

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the plaintiff to relief "requires more than labels and conclusions,

and a formulaic recitation of a cause of action's elements will not

do."         Id. at 1959.     In ruling on a Rule 12 (b) (6) motion the court

must "accept the plaintiff's well-pleaded facts as true and view

them in the light most favorable to the plaintiff."                 Chauvin v.

State Farm Fire        &    Casualty Co., 495 F.3d 232, 237 (5th Cir. 2007).


                                   III.   Analysis

        A federal-sector employee suing under Title VII may file two

types of civil actions:              a suit to enforce the administrative

disposition or a de nova review of the disposition.                Massingill,

496 F.3d at 384.            A suit for de nova review requires the court to

try the claim de nova for both liability and the remedy.                Id. at

385.     De nova review of only the remedial award is not available.

Id.

        Plaintiff's Complaint makes clear that she seeks de nova

review of only the amount of damages awarded. 12              Because partial

de nova review is not permitted, she has not stated a claim for

which relief may be granted.           See Herron, 305 F. Supp. 2d at 75-76,

79.

        Plaintiff's Complaint also states she is entitled to the

relief instructed in the October 30, 2018, agency determination. 13

Liberally construed, this appears to request the court to enforce



        12   Complaint, Docket Entry No. 1, p. 4 �� III, IV.
        13   Id. at 4 � IV.
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the final agency disposition, which is the permitted alternative to

full de novo review.      Id. at 384.        But Plaintiff does not say what
relief she is entitled to under the October 30, 2018, determination
that she would seek to enforce, nor has she attached that agency
determination to her Complaint.               Plaintiff therefore has not
alleged facts that demonstrate she is entitled to relief, and the
court must dismiss the action for failure to state a claim.


                        IV.   Conclusion and Order

      For the reasons explained above, Plaintiff has failed to state
a claim for which relief may be granted.          Although the deficiencies
in   Plaintiff's    Complaint    may    be    curable,   Plaintiff   has    not

responded to Defendant's Motion to Dismiss or requested leave to
amend.    Accordingly, Defendant Robert Wilkie's Motion to Dismiss
for Lack of Subject Matter Jurisdiction (Docket Entry No. 9) is

GRANTED, and Plaintiff's claim will be dismissed without prejudice.

      SIGNED at Houston, Texas, on this 18th day of November, 2019.




                                    SENIOR UNITED STATES DISTRICT JUDGE




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